           Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 1 of 17                                FILED
                                                                                                2019 Jan-22 PM 12:37
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 JASON M. JACKSON,                                )
                                                  )
           Plaintiff,                             )
                                                  )
 v.                                               )    Case No.: 2:17-cv-01241-JHE
                                                  )
 CITY OF ARGO, et al.,                            )
                                                  )
           Defendants.                            )

                                 MEMORANDUM OPINION1

       Plaintiff Jason M. Jackson (“Jackson” or “Plaintiff”) initiated this action on July 25, 2017,

against Defendants the City of Argo, Alabama (“the City” or “Argo”) and Officer Glenn Wells,

(“Captain Wells,” and together with the City, the “Defendants”). (Doc. 1). On August 18, 2017,

Defendants moved to dismiss the complaint, (doc. 5), and to strike portions of it, (doc. 6). On

August 31, 2017, Jackson amended his complaint, (doc. 12), and the undersigned found both of

Defendants’ motions moot in light of the amended complaint, (doc. 17). As with the original

complaint, Defendants moved to dismiss the amended complaint under Rule 12(b)(6) of the

Federal Rules of Civil Procedure, 2 (docs. 13 & 13-1), and to strike portions of it, (doc. 14). These




       1
          In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil
Procedure 73, the parties have voluntarily consented to have a United States Magistrate Judge
conduct any and all proceedings, including trial and the entry of final judgment. (Doc. 15).
        2
          Defendants’ motion to dismiss presents a forty-four-paragraph laundry list of defenses,
including service of process, the statute of limitations, laches, unclean hands, and subject-matter
jurisdiction, none of which they support with argument. (See generally doc. 13). Their attached
brief argues for dismissal only under Rule 12(b)(6). (See doc. 13-1 at 15-17). The undersigned
declines to consider Defendants’ numerous conclusory arguments for dismissal to the extent they
are not developed in the brief. See Flanigan's Enterprises, Inc. v. Fulton County, Ga., 242 F.3d
976, 987 n.16 (11th Cir. 2001).
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 2 of 17



motions are fully briefed and ripe for review. (Docs. 13, 14, 19 & 22). For the reasons stated more

fully below, the motion to dismiss is GRANTED, and the motion to strike is DENIED AS

MOOT.

                                         Standard of Review

       Rule 12(b)(6), FED. R. CIV. P., permits dismissal when a complaint fails to state a claim

upon which relief can be granted. “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations and internal quotation marks omitted). A

complaint states a facially plausible claim for relief “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citation omitted). The complaint must establish “more than a sheer possibility that

a defendant has acted unlawfully.” Id.; accord Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007)

(“Factual allegations must be enough to raise a right to relief above the speculative level.”).

Ultimately, this inquiry is a “context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Iqbal, 556 U.S. at 679.

       To that end, under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing the pleader is entitled to relief.” “[T]he pleading

standard Rule 8 announces does not require ‘detailed factual allegations,’ but it demands more

than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 555). Mere “labels and conclusions” or “a formulaic recitation of

the elements of a cause of action” are insufficient. Iqbal, 556 U.S. at 678. (citations and internal

quotation marks omitted). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid

of ‘further factual enhancement.’” Id. (citing Bell Atl. Corp., 550 U.S. at 557).
                                                      2
           Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 3 of 17



                                             Background3

       The City of Argo is an Alabama municipality located partially in Jefferson County and

partially in St. Clair County. (Doc. 12 at ¶ 2). It has fewer than 19,000 inhabitants. (Id. at ¶ 30).

       On the morning of August 8, 2015 — a clear, dry, sunny day — Jackson was travelling

northbound on Interstate 59. (Id. at ¶¶ 29 & 31). Captain Wells, an Argo police officer and the

city’s only officer on duty that day, was running radar on Interstate 59. (Id. at ¶¶ 3 & 29). Wells

believed Jackson was travelling at twenty-six miles per hour in excess of the speed limit. (Id. at

¶ 31). Based on that belief, Captain Wells pursued Jackson in his patrol car and, using his

emergency equipment, stopped Jackson. (Id.). Captain Wells issued Jackson a citation for reckless

driving. (Id.).

       Jackson hired counsel to defend against the reckless driving charge, and, after the City

refused to dismiss the charge, the matter proceeded to trial in Argo Municipal Court on November

6, 2015. (Id. at ¶¶ 36-37). Captain Wells testified that he has worked at the Argo Police

department since 2006 and runs radar on I-59 “pretty much every Saturday and Sunday” from 7:00

a.m. to 7:00 p.m. (Id. at ¶ 37). Captain Wells also testified that his only probable cause in pulling

Jackson over was his speed. (Id.). Captain Wells further testified that he is aware of Alabama

Code § 32-5A-171(8), which prohibits a municipality or town with fewer than 19,000 inhabitants

from enforcing the general prohibition on driving in excess of the maximum speed limit on an

interstate highway. (Id. at ¶¶ 17 & 37).




       3
          “When considering a motion to dismiss, all facts set forth in the plaintiff’s complaint ‘are
to be accepted as true and the court limits its consideration to the pleadings and exhibits attached
thereto.’” Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000) (quoting GSW,
Inc. v. Long Cnty., 999 F.2d 1508, 1510 (11th Cir. 1993)). In other words, these “facts” are taken
directly from the amended complaint.
                                                      3
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 4 of 17



       Following Captain Wells’s testimony, Jackson moved for an acquittal on the reckless

driving charge, arguing reckless driving requires the presence of another factor in addition to

speeding, but the municipal court denied the motion. (Id. at ¶¶ 21 & 39). Jackson was found guilty

of reckless driving and was assessed a fine and court costs totaling $362.00. (Id. at ¶¶ 39-40).

Jackson then appealed to the Circuit Court of St. Clair County, posting a $250.00 appeal bond with

the City. (Id. at ¶¶ 40-41). A year after receiving the citation, Jackson was acquitted of the reckless

driving charge; however, the City did not refund Jackson’s appeal bond. (Id. at ¶¶ 42-43).

                                                Analysis

       Jackson’s amended complaint asserts the following claims: (1) a 42 U.S.C. § 1983 count

against the City for illegal seizure in violation of the Fourth Amendment, (doc. 12 at ¶¶ 45-62);

(2) a § 1983 count against Captain Wells in his individual capacity, also for illegal seizure, (id. at

¶¶ 63-68); (3) a § 1983 count against the City for excessive fines in violation of the Eighth

Amendment, (id. at ¶¶ 69-74); (4) a § 1983 count against the City for negligent training, (id. at

¶¶ 75-79); (5) a § 1983 count for inadequate policies against the City, (id. at ¶¶ 80-87); (6) a § 1983

count against the City, asserted in the alternative to his fourth count, for customs and policies

encouraging Argo officers to violate motorists’ constitutional rights, (id. at ¶¶ 88-99); (7) a § 1983

count against the City for malicious prosecution, (id. at ¶¶ 100-12); (8) a state law unjust

enrichment claim against the City, (id. at ¶¶ 113-17); (9) a state law conversion claim against the

City, (id. at ¶¶ 118-21); and (10) a state law fraudulent inducement claim against the City, (id. at

¶¶ 122-24). Jackson also includes a number of class action allegations. (Id. at ¶¶ 9-14).

       A. Section 1983 Claims

       Defendants argue Jackson’s illegal seizure claims fail against both the City and Captain

Wells because Captain Wells had probable cause to stop Jackson. (Doc. 13-1 at 19-21).

                                                      4
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 5 of 17



Consequently, they contend Captain Wells is shielded by qualified immunity. (Id. at 27-31).

Defendants also argue Jackson’s claims against the City are fatally flawed by Jackson’s failure to

plead specific facts that would support municipal liability under § 1983 and because actions

Jackson attributes to the City were actually undertaken by the city’s municipal court. (Id. at 22-

26).

   1. Count II – Captain Wells

        “Qualified immunity protects government officials who were sued individually ‘unless the

law preexisting the defendant official's supposedly wrongful act was already established to such a

high degree that every objectively reasonable official standing in the defendant's place would be

on notice that what the defendant official was doing would be clearly unlawful given the

circumstances.’” Morton v. Kirkwood, 707 F.3d 1276, 1280 (11th Cir. 2013) (citation omitted).

To receive the protection of qualified immunity, the government official must first prove that he

was acting within the scope of his discretionary authority when the allegedly wrongful acts

occurred. Kesinger v. Herrington, 381 F.3d 1243, 1248 (11th Cir. 2004). Once an official

establishes he is acting within his discretionary authority, the burden shifts to the plaintiff to

demonstrate qualified immunity is inappropriate. White v. City of Birmingham, 96 F. Supp. 3d

1260, 1285 (N.D. Ala. 2015). To determine whether qualified immunity is appropriate, the court

asks two questions: (1) “Taken in the light most favorable to the party asserting the injury, do the

facts alleged show the officer's conduct violated a constitutional right?” (2) “If a violation could

be made out on a favorable view of the parties' submissions, . . . [was] the right . . . clearly

established?” Gonzalez v. Reno, 325 F.3d 1228, 1234 (11th Cir. 2003) (citing Saucier v. Katz, 533

U.S. 194 (2001)). This two-part analysis may be performed in any order. Pearson v. Callahan,

555 U.S. 223, 236 (2009).
                                                     5
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 6 of 17



       Here, Jackson alleges his Fourth Amendment rights were violated by the stop..

“The Fourth Amendment prohibits unreasonable searches and seizures by the Government, and its

protections extend to brief investigatory stops of persons or vehicles that fall short of traditional

arrest.” United States v. Arvizu, 534 U.S. 266, 273 (2002) (quotation marks omitted). A law

enforcement officer may stop a vehicle consistent with the Fourth Amendment “when there is

probable cause to believe that the driver is violating any one of the multitude of applicable traffic

and equipment regulations relating to the operation of motor vehicles.” United States v. Cooper,

133 F.3d 1394, 1398 (11th Cir. 1998). Thus, “the existence of probable cause at the time of [a

seizure] is an absolute bar to a subsequent constitutional challenge to the [seizure] . . . Probable

cause exists where the facts within the collective knowledge of law enforcement officials, derived

from reasonably trustworthy information, are sufficient to cause a person of reasonable caution to

believe that a criminal offense has been or is being committed.” Brown v. City of Huntsville, Ala.,

608 F.3d 724, 734 (11th Cir. 2010) (citations omitted).

       A police officer need not have actual probable cause to be shielded by qualified immunity,

as the Eleventh Circuit has recently explained:

       Even without actual probable cause, however, a police officer is entitled
       to qualified immunity if he had only “arguable” probable cause to arrest the
       plaintiff. See Lee v. Ferraro, 284 F.3d 1188, 1195 (11th Cir. 2002) . . . “Arguable
       probable cause exists where reasonable officers in the same circumstances and
       possessing the same knowledge as the [defendant] could have believed that
       probable cause existed to arrest.” Id. (emphasis added and internal quotation marks
       omitted). See also Wood v. Kesler, 323 F.3d 872, 878 (11th Cir. 2003) (“[T]he
       inquiry is . . . whether an officer reasonably could have believed that probable cause
       existed, in light of the information the officer possessed.” (internal quotation marks
       omitted)).

       Whether an officer has probable cause or arguable probable cause, or neither,
       “depends on the elements of the alleged crime and the operative fact
       pattern.” Brown, 608 F.3d at 735. The rationale behind qualified immunity is that
       an officer who acts reasonably should not be held personally liable merely because
                                                     6
           Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 7 of 17



       it appears, in hindsight, that he might have made a mistake. The concept
       of arguable probable cause therefore allows for the possibility that an officer might
       “reasonably but mistakenly conclude that probable cause is present.” Id.

Gates v. Khokhar, 884 F.3d 1290, 1298 (11th Cir. 2018).

       Jackson’s theory breaks down as follows: because Argo has fewer than 19,000 inhabitants,

(see doc. 12 at ¶ 30), an Argo police officer is statutorily forbidden from issuing a speeding citation

on an interstate highway. See ALA. CODE § 32-5A-171(8) (“A law enforcement officer or a peace

officer of any incorporated municipality or town which has less than 19,000 inhabitants according

to the most recent federal decennial census shall not enforce this section on any interstate

highway.”). The City’s police officers get around this by issuing reckless driving citations instead

of speeding citations, even in the absence of probable cause for reckless driving. Jackson contends

Captain Wells subjected him to an illegal seizure because Captain Wells (1) lacked the authority

to pull Jackson over for speeding because of the statutory provision in § 32-5A-171(8);4 and (2)

could not have had probable cause to pull Jackson over for reckless driving (the offense Jackson

was cited for) because Jackson did nothing other than speed.5 The logical consequence of this

theory is that it rises and falls with whether, as a matter of law, an officer could have probable




       4
          Defendants do not argue Captain Wells had the authority to cite Jackson for speeding,
although in their reply they attempt to distinguish “enforcement” of the speeding statute from
“performing an investigatory stop pursuant to” the speeding statute. (Doc. 22 at 12-13). This is a
distinction without an appreciable difference; it is unclear what the object of a traffic stop
“pursuant to” the speeding statute would be if not to enforce it. Since Captain Wells lacked the
jurisdiction to enforce the speeding statute, he lacked probable cause to perform an investigatory
stop predicated on a violation of the statute. See United States v. Woods, 2006 WL 2338167, (M.D.
Ala. Aug. 10, 2006).
        5
          In a footnote to his complaint, Jackson denies he was actually going as fast as Captain
Wells claims, (doc. 12 at 9 n.5), but not that he was speeding. In any event, Jackson’s theory
assumes Captain Wells had no right to stop him even if he was going 96 miles per hour, (see id. at
¶¶ 52-57).
                                                       7
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 8 of 17



cause to stop a motorist for reckless driving based only on the motorist’s speed. If Captain Wells

could have legally made such a stop, he is entitled to qualified immunity.

       Although Jackson contends that reckless driving under Alabama law is “often informally

referred to as ‘speeding plus’ in law enforcement because the statute clearly states both speed and

another factor are required for a driver to be guilty of” the offense, (doc. 12 at ¶ 21) (emphasis in

original), his argument that speed alone cannot provide probable cause to stop a driver for reckless

driving is not directly supported by the text of the reckless driving statute. Alabama’s reckless

driving statute provides: “Any person who drives any vehicle carelessly and heedlessly in willful

or wanton disregard for the rights or safety of persons or property, or without due caution and

circumspection and at a speed or in a manner so as to endanger or be likely to endanger any person

or property, shall be guilty of reckless driving.” ALA. CODE § 32-5A-190. In other words, a person

can violate the statute in one of two ways. First, a person may commit the offense by running

afoul of the first clause, which forbids “driv[ing] any vehicle carelessly and heedlessly in willful

or wanton disregard for the rights or safety of persons or property.” Second, a person may drive a

vehicle “without due caution and circumspection and at a speed or in a manner so as to endanger

or be likely to endanger any person or property,” violating the statute’s second clause. Only the

second clause arguably requires speed and another element. A motorist could violate the first

clause by speeding alone, so long as the motorist’s speed satisfies the requirements that it be

“careless[] and heedless[]” and “in willful or wanton disregard for the rights or safety of persons




                                                     8
           Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 9 of 17



or property.”6 The text of the statute does not foreclose that an objectively reasonable police

officer could believe that a person’s excessive speed could satisfy the first clause.

       Jackson relies primarily on Zann v. State, 17 So. 3d 1222 (Ala. Crim. App. 2009), for the

proposition that more than speeding is required for reckless driving. (See doc. 12 at ¶ 22; doc. 19

at 5).7 In Zann, the evidence at trial showed that an officer clocked the defendant driving at 75 or

76 miles per hour in a 70 mile per hour zone. 17 So. 3d at 1223. The officer then observed the

vehicle’s passenger side tires cross over the shoulder for approximately one second. Id. Based on

that, the officer turned on his blue lights, pulled the defendant over, and issued him a reckless

driving ticket. Id. The Alabama Court of Criminal Appeals reversed the defendant’s conviction




       6
          Although it is not dispositive of Alabama law, the undersigned notes that jurisdictions
with similar reckless driving statutes have adopted varying positions on whether speed alone can
support a reckless driving charge. Some adopt the reading Jackson advocates. See, e.g., State v.
Howard, 253 Neb. 523, 527, 571 N.W.2d 308, 313 (1997) (“We have determined that . . . speed
alone does not support a conviction for ‘willful reckless driving,’ which is defined in Neb. Rev.
Stat. § 60–6,214 (Reissue 1993) as driving ‘in such a manner as to indicate a willful disregard for
the safety of persons or property’ . . . .”). Others take the opposite position. See, e.g., Bonnell v.
Peake, No. 07-1139, 2008 WL 4140571, at *4 (Vet. App. Aug. 29, 2008) (citing People v. Nowell,
114 P.2d 91, 84 (Cal. App. Dep’t Super. Ct. 1941) (“California law recognize[s] that ‘[t]here may
be a point at which the speed becomes so excessive, the danger of injury . . . so probable, that such
extreme speed alone might be held to be willful misconduct . . . .”). And still others have
equivocated. See, e.g., State v. Lebron, 954 So. 2d 52, 55 (Fla. Dist. Ct. App. 2007) (citations
omitted) (“A number of appellate courts in Florida have held that speed alone is insufficient as a
basis for reckless driving . . . . The origin of this maxim seems to have been obscured by time. This
court, however, has never directly said that speed alone is not enough.”).
        7
          Jackson’s amended complaint contains citations to other cases in which a defendant’s
conviction for reckless driving was affirmed, seeking to show that “[e]very case has one thing in
common — where speed was a factor, the defendant had also committed another violation.” (Doc.
12 at ¶ 22). The fact that these specific reckless driving scenarios included speed and another
element does not exclude the possibility that speed alone could constitute reckless driving. Instead,
it shows that Alabama’s appellate courts often encounter reckless driving offenses that involve
more than just speed. Accord State v. Lebron, 954 So. 2d 52, 55 (Fla. Dist. Ct. App. 2007) (“When
confronted with the issue, we, as most other appellate courts of this state, have found that speed
was not alone in what amounted to reckless driving.”).
                                                         9
            Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 10 of 17



for reckless driving, finding “nothing in [the defendant’s] conduct, i.e., allowing the passenger-

side tires of his vehicle to cross over the shoulder for one second at a speed of only five or six

miles an hour over the posted speed limit, rises to the level of willful or wanton disregard for the

rights or safety of others.” Id. at 1224. It also found “there is no evidence indicating that [the

defendant] was driving without due caution and circumspection and at a speed or in a manner

likely to endanger anyone.” Id. It further found that “there was no testimony regarding the position

or presence of any other vehicles on the interstate and no testimony to the effect that [the

defendant] was driving ‘carelessly and heedlessly in willful or wanton disregard for the rights or

safety of persons or property’ or that he was driving ‘without due caution and circumspection and

at a speed or in a manner so as to endanger or be likely to endanger any person or property.’” Id.

Consequently, it held as a matter of law that the defendant’s conduct did not rise to the level of

reckless driving. Id. Zann does not support Jackson’s argument. Notably absent from the court’s

analysis in this case is a statement — or even an implication — that more than speed is required

for probable cause to stop a driver for (or even a convict a defendant of) reckless driving under

either clause of the statute.8




        8
          This case is also factually distinguishable from Zann because there was testimony at
Jackson’s municipal court trial from Captain Wells that Jackson was driving without due caution,
(see doc. 13-2 at 3 (6:5-7), and at a speed likely to endanger a person, (see id. (6:8-11)). Although
the court is ordinarily required to convert a 12(b)(6) motion to a motion for summary judgment
when matters outside the pleadings — such as the trial transcript attached to Defendants’ motion
— are considered and not excluded, see FED. R. CIV. P. 12(e), the court is not required to do so
“where the plaintiff refers to certain documents in the complaint and those documents are central
to the plaintiff's claim . . . .” Brooks v. Blue Cross Blue Shield of Fla., Inc., 116 F.3d 1364, 1369
(11th Cir. 1997). That is true here, since Jackson references the trial and Captain Wells’s testimony
in several paragraphs of his amended complaint, (see doc. 12 at ¶ 37-40), and the content and
outcome of the trial are central to several of Jackson’s claims.
                                                       10
         Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 11 of 17



        The remainder of Jackson’s argument Captain Wells violated his constitutional rights by

stopping him for reckless driving based only on his speed fares no better. Paragraphs 26 and 27

of the amended complaint reference an advisory opinion by former Alabama Attorney General

William Pryor distinguishing § 32-5A-170, which prohibits drivers from driving “at a speed

greater than is reasonable and prudent under the conditions and having regard to the actual and

potential hazards then existing,” from § 32-5A-171, the prohibition on exceeding the speed limit.

        Some fact situations give rise to a violation of both sections 32-5A-170 and -171
        — for example, driving over the posted limit within the corporate limits or police
        jurisdiction on snow pack on a narrow and winding road at night. In such case, the
        officer should charge a violation of section 32-5A-170 only. Driving just under the
        posted speed limit in the conditions stated could also be the basis of a violation of
        section 32-5A-170. On the other hand, driving over the posted limit on a clear day
        and on a dry, divided highway in light traffic could only be charged under section
        32- 5A-171 and, thus, is not enforceable by municipal police officers under section
        32-5A-171. When a driver is cited in the police jurisdiction of the city for violating
        section 32-5A-170, the citing officer should specify the hazardous conditions
        present in the “Facts Relating To The Offense” box on the Uniform Traffic Ticket
        and Complaint (“UTTC”) to distinguish such charge from the provisions specified
        in section 32-5A-171.

AGO 2004-061 at 6. The problem with relying on this advisory opinion is that, as Jackson

concedes, (see doc. 12 at 8 n.3 & n.4), it does not relate to the reckless driving statute at all, so its

statements about what must and must not be enforced as speeding are not directly applicable.

Jackson argues the opinion applies by analogy to reckless driving because both statutes require a

second element. (Id.). But, as stated above, at least one provision of the reckless driving statute

does not necessarily require an element beyond speeding. Further, to the extent that Captain Wells

did not comply with the spirit of the advisory opinion by failing to indicate more than simply speed

on the ticket (i.e., failing to specifically indicate that Jackson’s speed met the elements of the

reckless driving statute), (see doc. 12 at ¶ 33), this lack of compliance with state law is not an

actionable constitutional claim. See Wahl v. McIver, 773 F.2d 1169, 1173 (11th Cir. 1985).
                                                       11
           Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 12 of 17



       Separately, but dovetailing with the above discussion, Jackson’s claim against Captain

Wells is due to be dismissed because he has not shown that it is clearly established that a police

officer lacks probable cause to stop a motorist for reckless driving based solely on the motorist’s

speed.9 As noted above, Jackson relies solely on Zann for his argument. Even if Zann stood for

the proposition that Jackson contends, it would not be clearly established law such that Jackson

can defeat qualified immunity by relying on it because it is a decision of the Alabama Court of

Criminal Appeals. “In this circuit, rights are ‘clearly established’ by decisions of the Supreme

Court, this court, or the highest court of the state in which the case arose.” Thomas ex rel. Thomas

v. Roberts, 323 F.3d 950, 953 (11th Cir. 2003). Jackson has cited no controlling decision that

would clearly establish this right. Consequently, Captain Wells is entitled to qualified immunity

regardless of whether Jackson could demonstrate a constitutional violation.

   2. Counts I, III, IV, V, VI, and VII – City of Argo

       Four of the counts against the City are directly related to the stop and assert the City is

liable for it via municipal liability. As with Jackson’s claim against Captain Wells, these counts

assume a stop based on reckless driving is unlawful if it is based on speed alone. Count I is an

illegal seizure (i.e., Fourth Amendment) count against the City, attempting to hold it liable for the

traffic stop itself. (Doc. 12 at ¶¶ 45-62). Count IV alleges the City “negligently failed to train

Captain Wells regarding state and federal law, particularly with regard to a) the lack of authority

to enforce § 32-5A-171 on Alabama interstate highways via using other statutes, b) the lack of




       9
           The Supreme Court has recently reiterated that “the clearly established right [the plaintiff
argues was violated] must be defined with specificity,” and the Court “has repeatedly told
courts . . . not to define clearly established law at a high level of generality.” City of Escondido,
Cal. v. Emmons, --- S. Ct. ----, 2019 WL 113027, at *2 (Jan. 7, 2019) (citation omitted).
                                                       12
        Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 13 of 17



authority to cite drivers for reckless driving when the only perceived traffic violation is speed; and

3) illegal seizures under the Fourth Amendment to the United States Constitution.” (Id. at ¶ 76).

Count V alleges the City failed “to create, adopt and implement rules, regulations, practices and

procedures which clearly instruct police officers as to the limits of their traffic enforcement [sic]

under Alabama law and the Fourth Amendment pertaining to illegally stopping motorists traveling

through the City of Argo on Interstate 59,” leading to the stop. (Id. at ¶¶ 81-86). Count VI,

asserted in the alternative to Count IV, alleges the City’s customs and practices created an

unwritten policy encouraging its officers to illegally stop motorists, resulting in the violation of

Jackson’s Fourth Amendment rights. (Id. at ¶¶ 89-99).

       A municipality can only be liable under § 1983 for the unconstitutional actions of its

employees when its “official policy” causes a constitutional violation. Grech v. Clayton Cty., 335

F.3d 1326, 1329 (11th Cir. 2003) (citing Monell v. Dep't of Soc. Servs., 436 U.S. 658, 694, 98 S.Ct.

2018, 56 L.Ed.2d 611 (1978)). To support municipal (or Monell) liability under § 1983, Jackson

must show “(1) a violation of his constitutional rights; (2) that the City had a custom or policy that

was deliberately indifferent to that constitutional right; and (3) a causal link between the City’s

policy or custom and the violation.” Sharp v. City of Huntsville, AL., 730 F. App'x 858, 860 (11th

Cir. 2018) (citing McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004)). Jackson’s inability

to show the stop violated the Fourth Amendment forecloses his ability to show the first element,

and thus is fatal to each of these claims against the City regardless of whether Jackson can show
                      10
the other elements.        See City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986)



       10
         Independently fatal to Count I is that it attempts to hold the City liable for Captain
Wells’s conduct in initiating the stop. However, a municipality “may not be held liable for

                                                     13
        Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 14 of 17



(“[N]either Monell . . . nor any other of our cases authorizes the award of damages against a

municipal corporation based on the actions of one of its officers when . . . the officer inflicted no

constitutional harm . . . If a person has suffered no constitutional injury at the hands of the

individual police officer, the fact that the departmental regulations might have authorized

[unconstitutional conduct] is quite beside the point.”).

       In Count VII, Jackson asserts a malicious prosecution claim against the City. (Id. at ¶¶ 101-

112). To establish a § 1983 malicious prosecution claim, “the plaintiff must prove a violation of

his Fourth Amendment right to be free from unreasonable seizures in addition to the elements of

the common law tort of malicious prosecution.” Wood v. Kesler, 323 F.3d 872, 881 (11th Cir.

2003). The Eleventh Circuit has looked to both state and federal law for the elements of the

common law tort. Id. Under Alabama law, those elements are (1) a criminal prosecution instituted

or continued by the present defendant; (2) with malice and without probable cause; (3) that

terminated in the plaintiff accused's favor; and (4) caused damage to the plaintiff accused. Id. at

881-82 (citing Uboh v. Reno, 141 F.3d 1000, 1002-04 (11th Cir.1998) and Delchamps, Inc. v.

Bryant, 738 So.2d 824, 831-32 (Ala.1999)). As discussed above, Jackson cannot show the City11

lacked probable cause to prosecute him for reckless driving based solely on his speed, and this

claim is due to be dismissed as well.




constitutional deprivations on the theory of respondeat superior.” Hill v. Cundiff, 797 F.3d 948,
977 (11th Cir. 2015).
        11
           Defendants argue this claim is also due to be dismissed because the prosecution was
carried out by the Argo Municipal Court, which is independent of the City. (Doc. 13-1 at 6-12,
26-27). Defendants do not explain why the prosecution of a reckless driving offense, carried out
by a prosecutor representing the City of Argo, (see doc. 13-2 at 2), and pursuant to a ticket issued
by a City police officer, ought to be considered a judicial function attributable to the Argo
Municipal Court.
                                                    14
        Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 15 of 17



       Jackson also contends in Count III that the $362.00 in court costs and fines imposed for

the reckless driving ticket was excessive under the Eighth Amendment because the ticket was

issued pursuant to an unconstitutional stop. (Doc. 12 at 16-18). The Eighth Amendment’s

“Excessive Fines Clause limits the government's power to extract payments, whether in cash or in

kind, as punishment for some offense.” Alexander v. United States, 509 U.S. 544, 558 (1993). A

fine is excessive when it is “grossly disproportional to the gravity of the defendant's

offense,” which “is determined by examining three factors: (1) whether the defendant falls into the

class of persons at whom the criminal statute was principally directed; (2) other penalties

authorized by the legislature (or the Sentencing Commission); and (3) the harm caused by the

defendant.” United States v. Browne, 505 F.3d 1229, 1281 (11th Cir. 2007) (internal citations

omitted). Jackson cannot show that the stop was unconstitutional, so he also cannot show that the

fine was excessive solely because of an unconstitutional stop. And, considering the factors above,

the undersigned finds a $362.00 fine for a reckless driving conviction (which, as Jackson notes, is

punishable by a fine of between $25.00 and $500.00, (see doc. 12 at ¶ 25)), is not grossly

disproportionate to the offense such that it is unconstitutionally excessive.

       B. State Law Claims

       In his response to Defendants’ motion to dismiss, Jackson “concedes he cannot maintain

claims against the City for the intentional torts of conversion and fraudulent inducement.” (Doc.

19 at 13). Therefore, those claims, contained in Counts IX and X, (doc. 12 at ¶¶ 118-124), are

abandoned and due to be dismissed.12




       12
         Defendants argue the City is entitled to immunity from Jackson’s state law claims
because Captain Wells would be entitled to immunity under state law. (Doc. 13-1 at 27-40).

                                                     15
        Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 16 of 17



       As to Jackson’s unjust enrichment claim, Defendants contend Jackson’s allegations are

based on actions taken by the Argo Municipal Court and, in any event, the City is entitled to local-

government immunity. (Doc. 13-1 at 34-35). In response, Jackson states his unjust enrichment

count is not a tort claim but an equitable remedy, and is properly a part of his § 1983 Monell claims

against the City. (Doc. 19 at 13-14). To the extent Jackson intends his unjust enrichment count to

be part of his § 1983 claims, it is due to be dismissed for the same reasons that those claims are

due to be dismissed, as discussed above. To the extent it is intended to be an unjust enrichment

claim under state law, Jackson has abandoned it by failing to respond to Defendants’ arguments

under state law, and it is also due to be dismissed.

       C. Class Claims

       Jackson’s complaint attempts to bring claims for declaratory and injunctive relief on behalf

of a class comprised of “all persons within the applicable statute of limitations preceding the filing

of this action to the date of Class certification who, while traveling on Interstate 59, received a

citation for reckless driving by a City of Argo officer/employee where the charge of reckless

driving on the face of the citation would not make a prima facie case of reckless driving under

Alabama law and were therefore assessed with fines, bonds, or costs.” (Doc. 12 at ¶ 9). “[A] class

representative must be part of the class and ‘possess the same interest and suffer the same injury’

as the class members.” East Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403




Although Jackson argues Captain Wells is not entitled to immunity under state law, (doc. 19 at 14-
15), it is unclear what relevance this argument has given Jackson’s state law claims are asserted
only against the City and have been affirmatively abandoned.

                                                       16
        Case 2:17-cv-01241-JHE Document 25 Filed 01/22/19 Page 17 of 17



(1977). To the extent class claims could be appropriate in this case, 13 because Jackson asserts no

viable claims, he cannot bring claims on behalf of the putative class.

                                              Conclusion

       For the reasons stated above, Defendants’ motion to dismiss, (doc. 13), is GRANTED, and

Defendants’ motion to strike, (doc. 14), is DENIED AS MOOT. A separate order will be entered.

       DONE this 22nd day of January, 2019.



                                              _______________________________
                                              JOHN H. ENGLAND, III
                                              UNITED STATES MAGISTRATE JUDGE




       13
           As Defendants note in their motion to strike the amended complaint, the effect of
Jackson’s class action would be to collaterally attack multiple final judgments. (Doc. 14 at ¶¶ 18-
19). Jackson concedes this point, but argues “[i]t is extremely well-settled law that final judgments
are subject to collateral attack on constitutional grounds” such as the ones he alleges. (Doc. 19 at
11). In support, he cites Stone v. Powell, 428 U.S. 465, 477-479 (1976). Defendants correctly
identify Stone as a habeas decision. (Doc. 22 at 5). It is unlikely in the extreme that members of
the class could satisfy many of the requirements for a petition for a writ of habeas corpus under 28
U.S.C. § 2254 (e.g., exhaustion of state remedies, see O'Sullivan v. Boerckel, 526 U.S. 838, 842
(1999), or the requirement that a habeas petitioner be “in custody,” see Duvallion v. Florida, 691
F.2d 483, 484-85 (11th Cir. 1982)), and it would be inappropriate to combine this § 1983 action
with a habeas action. Further, to the extent Jackson seeks to recover monetary damages through
the class action, (see doc. 12 at ¶ 14), a claim for damages “for allegedly unconstitutional
conviction or imprisonment, or for other harm caused by actions whose unlawfulness would render
a conviction or sentence invalid . . . [that has not] been reversed on direct appeal, expunged by
executive order, declared invalid by a state tribunal authorized to make such determination, or
called into question by a federal court's issuance of a writ of habeas corpus, 28 U.S.C. § 2254 . . .
is not cognizable under § 1983.” Heck v. Humphrey, 512 U.S. 477, 486–87 (1994).

                                                     17
